Case 1:21-cv-05350-PKC-JAM   Document 450-2   Filed 07/05/24   Page 1 of 24 PageID
                                  #: 25103




                              EXHIBIT A
Case 1:21-cv-05350-PKC-JAM          Document 450-2        Filed 07/05/24       Page 2 of 24 PageID
                                         #: 25104



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


  SECURITIES AND EXCHANGE COMMISSION,

                                Plaintiff,

                              v.

  RICHARD XIA, a/k/a YI XIA, and FLEET NEW                          21-cv-05350-PKC-JAM
  YORK METROPOLITAN REGIONAL CENTER,
  LLC, f/k/a FEDERAL NEW YORK
  METROPOLITAN REGIONAL CENTER, LLC,

                                Defendants,

  JULIA YUE, a/k/a JIQING YUE;
  XI VERFENSTEIN, and XINMING YU,

                                Relief Defendants.


                   CONSENT OF DEFENDANTS RICHARD XIA AND
             FLEET NEW YORK METROPOLITAN REGIONAL CENTER LLC
                      AND RELIEF DEFENDANT JULIA YUE

        1.      Defendants Richard Xia (“Xia”) and Fleet New York Metropolitan Regional

 Center LLC (“Fleet,” together with Xia, “Defendants”) and Relief Defendant Julie Yue a/k/a

 Jiqing Yue (“Yue” or “Relief Defendant”) acknowledge having been served with the Amended

 Complaint in this action, enter general appearances, and admit the Court’s jurisdiction over

 Defendants and Relief Defendant and over the subject matter of this action.

        2.      Without admitting or denying the allegations of the complaint (except as provided

 herein in paragraph 15 and except as to personal and subject matter jurisdiction, which

 Defendants and Relief Defendant admit), Defendants and Relief Defendant hereby consent to the

 entry of the final Judgment in the form attached hereto (the “Final Judgment”) and incorporated

 by reference herein, which, among other things:

                                                   1
Case 1:21-cv-05350-PKC-JAM      Document 450-2         Filed 07/05/24       Page 3 of 24 PageID
                                     #: 25105



             (a)   permanently restrains and enjoins Defendants from violation of Section

                   10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”)

                   [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R.

                   § 240.10b-5], and Section 17(a) of the Securities Act of 1933 (the

                   “Securities Act”) [15 U.S.C. § 77q(a)];

             (b)   permanently restrains and enjoins Defendants from, directly or indirectly,

                   participating in the offer or sale of any security, including participating in

                   the offer or sale of any security which constitutes an investment in a

                   “commercial enterprise” under the EB-5 visa program administered by the

                   United States Citizenship and Immigration Service (“USCIS”), and

                   engaging in activities with a broker, dealer, or issuer, or a Regional Center

                   designated by USCIS, for purposes of issuing, offering, trading, or

                   inducing or attempting to induce the purchase or sale of any such EB-5

                   investment; provided, however, that such injunction shall not prevent

                   Defendant Xia from (i) purchasing securities for or selling securities from

                   his own personal account, or (ii) excluding EB-5 investors, raising capital

                   from accredited investors as defined in 17 C.F.R. 230.501(a) or qualified

                   purchasers as defined in 15 U.S.C. § 80a-2(a)(51)(A) for the acquisition,

                   development, or construction of real property, except that any prohibitions

                   or limitations arising as a consequence of the injunction in Paragraph 2(a)

                   shall continue to apply, including the disqualification provisions of

                   Regulation A, Regulation CF, and Regulation D;




                                              2
Case 1:21-cv-05350-PKC-JAM      Document 450-2         Filed 07/05/24     Page 4 of 24 PageID
                                     #: 25106



             (c)   orders Defendants and Relief Defendant to pay, jointly and severally,

                   disgorgement in the amount of $228,500,000, plus prejudgment interest

                   thereon in the amount of $25,000,000 (except that Relief Defendant shall

                   only be liable for $14,000,000 of the disgorgement and $720,000 of the

                   prejudgment interest); and orders Xia to pay a civil penalty in the amount

                   of $3,101,745 and Fleet to pay a civil penalty in the amount of

                   $15,538,635 under Securities Act Section 20(d) [15 U.S.C. § 77t(d)] and

                   Exchange Act Section 21(d)(3) [15 U.S.C. § 78u(d)(3)];

             (d)   orders that Defendants’ and Relief Defendant’s obligations to pay

                   disgorgement, prejudgment interest, and, as to Defendants, penalties

                   hereunder shall be satisfied in two steps:

                   i.     First, Defendant Fleet’s and Defendant Xia’s monetary obligations

                          hereunder shall be satisfied, in part, by payment of $42.5 million

                          from Defendants’ funds currently frozen (“Frozen Assets”)

                          pursuant to the Preliminary Injunction Freezing Assets entered by

                          the Court on December 8, 2022, held by the following financial

                          institutions: East West Bank, Popular Bank, Cathay Bank,

                          Citibank, N.A., CTBC Bank, HSBC Bank USA, NA, Signature

                          Bank, JP Morgan Chase Bank, NA, Flushing Bank, and Interactive

                          Brokers LLC (collectively, the “Financial Institutions”). The

                          Financial Institutions and accounts frozen at the Financial

                          Institutions (“Frozen Accounts”) that are the subject of this

                          subparagraph are set forth in Appendix A attached hereto and



                                             3
Case 1:21-cv-05350-PKC-JAM   Document 450-2        Filed 07/05/24      Page 5 of 24 PageID
                                  #: 25107



                        incorporated herein by reference. Upon a motion by the

                        Commission and order of the Court, such Financial Institutions as

                        are directed by the Court shall pay assets from the Frozen

                        Accounts to the Court’s Court Registry Investment System

                        (“CRIS”) as follows: within five business days of being served

                        with a copy of the Court’s order, the amount(s) ordered by the

                        Court shall be paid by each Financial Institution so ordered from

                        the Frozen Account(s) into the Court’s registry by a cashier’s

                        check, certified check or postal money order drawn to the order of

                        “Clerk, United States District Court, E.D.N.Y.,” or by wire transfer

                        to the same, whereupon the Clerk of this Court shall deposit such

                        funds into an interest bearing account for this case with the CRIS

                        (“CRIS Escrow Account”). Defendants agree that they shall be

                        deemed to have relinquished all legal and equitable title, and

                        interest in, such monies paid from the Frozen Accounts as

                        contemplated by this subparagraph, and no part of such funds shall

                        be returned to Defendants. These payments from the Frozen

                        Accounts shall be first applied to Defendants’ obligation to pay

                        disgorgement and prejudgment interest, and shall be held by the

                        CRIS, together with any interest and income earned thereon, until

                        further order of the Court; and

                 ii.    Second, Defendant Fleet’s and Defendant Xia’s remaining

                        monetary obligations and Relief Defendant Yue’s monetary



                                          4
Case 1:21-cv-05350-PKC-JAM     Document 450-2         Filed 07/05/24       Page 6 of 24 PageID
                                    #: 25108



                          obligations hereunder shall be satisfied by payment by Defendants

                          and/or Relief Defendant made no later than 245 days from entry of

                          the Final Judgment of the disgorgement and prejudgment

                          interest—and as to Defendant Fleet and Defendant Xia, penalty

                          amounts—then still owed of $229,640,380, plus any post-judgment

                          interest thereon, to the Court’s CRIS. Defendants and Relief

                          Defendant may transmit payment or cause payment to be made

                          into the Court’s registry by a cashier’s check, certified check, or

                          postal money order drawn to the order of “Clerk, United States

                          District Court, E.D.N.Y.,” or by wire transfer to the same,

                          whereupon the Clerk of this Court shall deposit such funds into the

                          CRIS Escrow Account. These funds, together with any interest

                          and income earned thereon, shall be held by the CRIS until further

                          order of the Court. By making this payment, or causing this

                          payment to be made, Defendants and Relief Defendant agree that

                          they shall be deemed to have relinquished all legal and equitable

                          title, and interest in, such funds and no part of such funds shall be

                          returned to Defendants or Relief Defendant;

             (e)   orders that any Frozen Assets not paid from the Frozen Accounts to the

                   Court’s CRIS under Paragraph 2(d)(i) may be used as permitted under the

                   Order Appointing Monitor entered by the Court on September 27, 2022

                   (“Monitor Order”), and the Preliminary Injunction Freezing Assets entered

                   by the Court on December 8, 2022 (“Preliminary Injunction”) including,



                                             5
Case 1:21-cv-05350-PKC-JAM      Document 450-2         Filed 07/05/24      Page 7 of 24 PageID
                                     #: 25109



                   to the extent permitted, to preserve the value of the Projects. For the

                   avoidance of doubt, this subparagraph is not intended to and does not

                   supersede the Monitor Order or Preliminary Injunction;

             (f)   orders that Defendants shall provide reasonable cooperation to the EB-5

                   investors related to any such investor’s efforts to obtain benefits under the

                   EB-5 program including, but not limited to, providing information and

                   documentation necessary for the EB-5 investor to apply for and obtain

                   such benefits;

             (g)   orders that the Monitor Order and Preliminary Injunction shall each

                   remain in full force and effect until the monetary obligation of Defendants

                   and Relief Defendant hereunder have been satisfied by the deposit of the

                   amounts ordered to be paid into the Court’s CRIS. The Monitor Order and

                   Preliminary Injunction shall be vacated upon motion by the Defendants or

                   the Commission upon confirmation by the Court of all payments required

                   hereunder, notice to the Commission’s counsel of confirmation of such

                   payments, and acknowledgement by the Commission’s counsel to

                   Defendants of such payments, which acknowledgment shall be provided

                   within five business days and shall not be unreasonably withheld; and

             (h)   orders that, to the extent any Defendant and/or Relief Defendant seek to

                   satisfy their monetary obligations hereunder through a third-party

                   financing, they shall provide Commission counsel with the documentation

                   governing such financing for review and approval by Commission counsel

                   no fewer than ten business days before any such documentation is



                                             6
Case 1:21-cv-05350-PKC-JAM       Document 450-2          Filed 07/05/24      Page 8 of 24 PageID
                                      #: 25110



                    executed, which approval by Commission counsel shall not be

                    unreasonably withheld; and

             (i)    orders Defendant Xia to relinquish any direct and/or indirect control and

                    ownership of Defendant Fleet within 60 days of the entry of the Final

                    Judgment.

       3.    Defendant Xia undertakes to:

             (a)    Within 21 days of signing this Consent, grant and assign to the

                    Commission, in a form agreeable to the Commission, as security for

                    Defendants’ payment and performance of their obligations under

                    Paragraph 2(d)(ii) of this Consent, a senior security interest in all of

                    Defendants’ rights, directly and indirectly, in and to the assets more

                    particularly described on Appendix C attached hereto and incorporated

                    herein by reference (collectively, the “Collateral”). Defendant shall also

                    cause any entities that own the Collateral to grant and assign to the

                    Commission a senior security interest in all of those entities’ rights to the

                    Collateral equal to the full amount of the money obligation owed under

                    Paragraphs 2(c) and 2(d) above. Such senior security interest shall be

                    senior in all respects to subordinate security interests in the Collateral

                    whether now in existence or hereafter granted, except as to the security

                    interest described in Appendix D attached hereto and incorporated herein

                    by reference. Xia shall, within 21 days of signing this Consent, provide

                    the Commission with documentation, in a form agreeable to the

                    Commission, sufficient to convey the senior security interest to the



                                               7
Case 1:21-cv-05350-PKC-JAM      Document 450-2          Filed 07/05/24       Page 9 of 24 PageID
                                     #: 25111



                   Commission contemplated by this subparagraph. The documentation may

                   reflect that the conveyance of the senior security interest is contingent

                   upon the Court’s entry of the Final Judgment, and that the senior security

                   interest shall become null and void upon Defendants’ full and timely

                   performance of its obligations under Paragraph 2(d)(ii) above. Defendant

                   Xia shall submit the documentation to Judith Weinstock Esq., Assistant

                   Regional Director, New York Regional Office, with a copy to the Office

                   of Chief Counsel of the Enforcement Division;

             (b)   within 30 days of entry of the Final Judgment, certify, in writing and

                   under oath, that Defendants waive their rights, if any, to the Frozen Assets

                   in the accounts set forth in Appendix B attached hereto and incorporated

                   herein by reference. Defendants shall submit the certifications to Judith

                   Weinstock Esq., Assistant Regional Director, New York Regional Office,

                   with a copy to the Office of Chief Counsel of the Enforcement Division;

                   and

             (c)   within 90 days of entry of the Final Judgment, certify, in writing and

                   under oath, that defendant Xia has relinquished control and ownership,

                   directly or indirectly, of Fleet, and detailing the person(s) or entity(ies)

                   who have assumed control and ownership of Fleet and who must be

                   independent from Xia, and that Xia shall not seek to regain control and/or

                   ownership, directly or indirectly, of Fleet until the Projects are complete

                   and all EB-5 investors in the Projects have received their permanent green

                   cards. The certification shall identify the undertaking, provide written



                                              8
Case 1:21-cv-05350-PKC-JAM            Document 450-2         Filed 07/05/24       Page 10 of 24 PageID
                                            #: 25112



                         evidence of compliance in the form of a narrative, and be supported by

                         exhibits sufficient to demonstrate compliance including, but not

                         necessarily limited to, a sworn affidavit from Xia, a sworn affidavit from

                         the acquirer of Fleet, and all documents and exhibits comprising the

                         transaction. Xia shall submit the certification to Judith Weinstock Esq.,

                         Assistant Regional Director, New York Regional Office, with a copy to

                         the Office of Chief Counsel of the Enforcement Division.

         4.      Relief Defendant Yue undertakes to, within 21 days of signing this Consent, grant

  and assign to the Commission, in a form agreeable to the Commission, as security for

  Defendants’ payment and performance of their obligations under Paragraph 2(d)(ii) of this

  Consent, a senior security interest in all of Relief Defendant’s rights, directly and indirectly, in

  any of the Collateral. Such senior security interest shall be senior in all respects to subordinate

  security interests in the Collateral whether now in existence or hereafter granted. Yue shall,

  within 21 days of signing this Consent, provide the Commission with documentation, in a form

  agreeable to the Commission, sufficient to convey the senior security interest to the Commission

  contemplated by this Paragraph. The documentation may reflect that the conveyance of the

  senior security interest is contingent upon the Court’s entry of the Final Judgment, and that the

  senior security interest shall become null and void upon Defendants’ full and timely performance

  of its obligations under Paragraph 2(d)(ii) above. Relief Defendant Yue shall submit the

  documentation to Judith Weinstock Esq., Assistant Regional Director, New York Regional

  Office, with a copy to the Office of Chief Counsel of the Enforcement Division;

         5.      Defendant Fleet undertakes to, between 270 days and 365 days of entry of the

  Final Judgment, certify, in writing and under oath, that subsequent to Xia relinquishing control



                                                    9
Case 1:21-cv-05350-PKC-JAM            Document 450-2          Filed 07/05/24      Page 11 of 24 PageID
                                            #: 25113



  and ownership of Fleet, as contemplated by Paragraphs 2(i) and 3(c) above, that Xia has had no

  ownership of, or control or influence over, Fleet, directly or indirectly. The certification shall

  identify the undertaking, provide written evidence of compliance in the form of a narrative, and

  be supported by exhibits sufficient to demonstrate compliance. Fleet shall submit the

  certification to Judith Weinstock Esq., Assistant Regional Director, New York Regional Office,

  with a copy to the Office of Chief Counsel of the Enforcement Division.

         6.      Notwithstanding the foregoing, nothing herein is intended to, and it does not, bar

  Fleet from continuing to serve as a Regional Center for the Projects, as well as any redeployment

  activities of the above Projects, subject to any action of or decision by USCIS, so long as Fleet is

  owned and controlled, directly and indirectly, by a person or persons other than and who are

  independent from Xia, until those Projects are complete and all EB-5 investors in the Projects

  have received their permanent green cards.

         7.      Defendants acknowledge that the civil penalty paid pursuant to the Final

  Judgment may be distributed pursuant to the Fair Fund provisions of Section 308(a) of the

  Sarbanes-Oxley Act of 2002. Regardless of whether any such Fair Fund distribution is made, the

  civil penalty shall be treated as a penalty paid to the government for all purposes, including all

  tax purposes. To preserve the deterrent effect of the civil penalty, Defendants agree that they

  shall not, after offset or reduction of any award of compensatory damages in any Related

  Investor Action based on Defendants’ and Relief Defendant’s payment of disgorgement in this

  action, argue that they are entitled to, nor shall they further benefit by, offset or reduction of such

  compensatory damages award by the amount of any part of Defendants’ payment of a civil

  penalty in this action (“Penalty Offset”). If the court in any Related Investor Action grants such

  a Penalty Offset, Defendants agree that they shall, within 30 days after entry of a final order



                                                    10
Case 1:21-cv-05350-PKC-JAM            Document 450-2         Filed 07/05/24      Page 12 of 24 PageID
                                            #: 25114



  granting the Penalty Offset, notify the Commission’s counsel in this action and pay the amount

  of the Penalty Offset to the United States Treasury or to a Fair Fund, as the Commission directs.

  Such a payment shall not be deemed an additional civil penalty and shall not be deemed to

  change the amount of the civil penalty imposed in this action. For purposes of this paragraph, a

  “Related Investor Action” means a private damages action brought against Defendants by or on

  behalf of one or more investors based on substantially the same facts as alleged in the Amended

  Complaint in this action.

         8.      Defendants agree that they shall not seek or accept, directly or indirectly,

  reimbursement or indemnification from any source, including but not limited to payment made

  pursuant to any insurance policy, with regard to any civil penalty amount that Defendants pay

  pursuant to the Final Judgment, regardless of whether such penalty amounts or any part thereof

  are added to a distribution fund or otherwise used for the benefit of investors. Defendants further

  agree that they shall not claim, assert, or apply for a tax deduction or tax credit with regard to

  any federal, state, or local tax for any penalty amounts that Defendants pay pursuant to the Final

  Judgment, regardless of whether such penalty amounts or any part thereof are added to a

  distribution fund or otherwise used for the benefit of investors.

         9.      Defendants and Relief Defendant waive the entry of findings of fact and

  conclusions of law pursuant to Rule 52 of the Federal Rules of Civil Procedure.

         10.     Defendants and Relief Defendant waive the right, if any, to a jury trial and to

  appeal from the entry of the Final Judgment.

         11.     Defendants and Relief Defendant enter into this Consent voluntarily and represent

  that no threats, offers, promises, or inducements of any kind have been made by the Commission




                                                   11
Case 1:21-cv-05350-PKC-JAM            Document 450-2        Filed 07/05/24      Page 13 of 24 PageID
                                            #: 25115



  or any member, officer, employee, agent, or representative of the Commission to induce

  Defendants or Relief Defendant to enter into this Consent.

         12.     Defendants and Relief Defendant agree that this Consent shall be incorporated

  into the Final Judgment with the same force and effect as if fully set forth therein.

         13.     Defendants and Relief Defendant will not oppose the enforcement of the Final

  Judgment on the ground, if any exists, that it fails to comply with Rule 65(d) of the Federal Rules

  of Civil Procedure, and hereby waive any objection based thereon.

         14.     Defendants and Relief Defendant waive service of the Final Judgment and agree

  that entry of the Final Judgment by the Court and filing with the Clerk of the Court will

  constitute notice to Defendants and Relief Defendant of its terms and conditions. Defendants

  and Relief Defendant further agree to provide counsel for the Commission, within thirty days

  after the Final Judgment is filed with the Clerk of the Court, with an affidavit or declaration

  stating that Defendants and Relief Defendant have received and read a copy of the Final

  Judgment.

         15.     Consistent with 17 C.F.R. 202.5(f), this Consent resolves only the claims asserted

  against Defendants and Relief Defendant in this civil proceeding. Defendants and Relief

  Defendant acknowledge that no promise or representation has been made by the Commission or

  any member, officer, employee, agent, or representative of the Commission with regard to any

  criminal liability that may have arisen or may arise from the facts underlying this action or

  immunity from any such criminal liability. Defendants and Relief Defendant waive any claim of

  Double Jeopardy based upon the settlement of this proceeding, including the imposition of any

  remedy or civil penalty herein. Defendants further acknowledge that the Court’s entry of a

  permanent injunction may have collateral consequences under federal or state law and the rules



                                                   12
Case 1:21-cv-05350-PKC-JAM            Document 450-2         Filed 07/05/24      Page 14 of 24 PageID
                                            #: 25116



  and regulations of self-regulatory organizations, licensing boards, and other regulatory

  organizations. Such collateral consequences include, but are not limited to, a statutory

  disqualification with respect to membership or participation in, or association with a member of,

  a self-regulatory organization. This statutory disqualification has consequences that are separate

  from any sanction imposed in an administrative proceeding. In addition, in any disciplinary

  proceeding before the Commission based on the entry of the injunction in this action, Defendants

  understand that they shall not be permitted to contest the factual allegations of the complaint in

  this action.

          16.    Defendants and Relief Defendant understand and agree to comply with the terms

  of 17 C.F.R. § 202.5(e), which provides in part that it is the Commission’s policy “not to permit

  a defendant or respondent to consent to a judgment or order that imposes a sanction while

  denying the allegations in the complaint or order for proceedings,” and “a refusal to admit the

  allegations is equivalent to a denial, unless the defendant or respondent states that it neither

  admits nor denies the allegations.” As part of Defendants’ and Relief Defendant’s agreement to

  comply with the terms of Section 202.5(e), Defendants and Relief Defendant: (i) will not take

  any action or make or permit to be made any public statement denying, directly or indirectly, any

  allegation in the complaint or creating the impression that the complaint is without factual basis;

  (ii) will not make or permit to be made any public statement to the effect that they do not admit

  the allegations of the complaint, or that this Consent contains no admission of the allegations,

  without also stating that Defendants and Relief Defendant do not deny the allegations; (iii) upon

  the filing of this Consent, Defendants and Relief Defendant hereby withdraw any papers filed in

  this action to the extent that they deny any allegation in the complaint; and (iv) stipulates solely

  for purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code,



                                                   13
Case 1:21-cv-05350-PKC-JAM            Document 450-2          Filed 07/05/24      Page 15 of 24 PageID
                                            #: 25117



  11 U.S.C. § 523, that the allegations in the complaint are true, and further, that any debt for

  disgorgement, prejudgment interest, civil penalty or other amounts due by Defendants or Relief

  Defendant under the Final Judgment or any other judgment, order, consent order, decree or

  settlement agreement entered in connection with this proceeding, is a debt for the violation by

  Defendants of the federal securities laws or any regulation or order issued under such laws, as set

  forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. § 523(a)(19). If any of the

  Defendants or Relief Defendant breach this agreement, the Commission may petition the Court

  to vacate the Final Judgment and restore this action to its active docket. Nothing in this

  paragraph affects Defendants’ or Relief Defendant’s: (i) testimonial obligations or rights; or

  (ii) right to take legal or factual positions in any litigation or other legal proceedings in which the

  Commission is not a party.

         17.     Defendants and Relief Defendant hereby waive any rights under the Equal Access

  to Justice Act, the Small Business Regulatory Enforcement Fairness Act of 1996, or any other

  provision of law to seek from the United States, or any agency, or any official of the United

  States acting in his or her official capacity, directly or indirectly, reimbursement of attorney’s

  fees or other fees, expenses, or costs expended by Defendants or Relief Defendant to defend

  against this action. For these purposes, Defendants and Relief Defendant agrees that they are not

  the prevailing party in this action since the parties have reached a good faith settlement.

         18.     Defendants and Relief Defendant agree that the Commission may present the

  Final Judgment to the Court for signature and entry without further notice.

         19.     Defendants and Relief Defendant agree that this Court shall retain jurisdiction

  over this matter for the purpose of enforcing the terms of the Final Judgment.




                                                    14
Case 1:21-cv-05350-PKC-JAM   Document 450-2   Filed 07/05/24   Page 16 of 24 PageID
                                   #: 25118
Case 1:21-cv-05350-PKC-JAM   Document 450-2   Filed 07/05/24   Page 17 of 24 PageID
                                   #: 25119
Case 1:21-cv-05350-PKC-JAM         Document 450-2         Filed 07/05/24    Page 18 of 24 PageID
                                         #: 25120




                                           Appendix A

         The following are the Financial Institutions and Frozen Accounts as described in

  paragraph 2 of the Consent of Defendants Richard Xia and Fleet New York Metropolitan

  Regional Center LLC and Relief Defendant Julia Yue:

                                                                                  Frozen Account No.
   Financial Institution           Account Owner                                  Last Four Digits
   Cathay Bank                     EEGH LP                                        x8260
   Cathay Bank                     Manekineko Group LLC                           x3112
   Cathay Bank                     Shangri-La 9F Inc                              x2212
   Cathay Bank                     Shangri-La Green Inc                           x3302
   Cathay Bank                     Shangri-La Green Inc                           x9100
   Cathay Bank                     Shangri-La Green Inc                           x0100
   Cathay Bank                     Shangri-La Green Inc                           x7100
   Citibank, N.A.                  JiQing Yue                                     x4308
   Citibank, N.A.                  JiQing Yue & Guangyu Xia                       x1502
   Citibank, N.A.                  JiQing Yue IRA                                 x8213
   Citibank, N.A.                  JiQing Yue IRA                                 x8192
   Citibank, N.A.                  Yi Xia & JiQing Yue                            x0569
   Citibank, N.A.                  Yi Xia & JiQing Yue                            x2377
   Citibank, N.A.                  Yi Xia IRA                                     x8168
   CTBC Bank                       Eastern Emerald Group LLC                      x5180
   CTBC Bank                       Eastern Emerald Group LLC                      x0808
   CTBC Bank                       Eastern Emerald Group LLC                      x9577
   CTBC Bank                       Eastern Emerald Group LLC                      x3677
   CTBC Bank                       Eastern Emerald Group LLC                      x1217
   CTBC Bank                       Eastern Emerald Group LLC                      x2477
   CTBC Bank                       Fleet General Insurance                        x2892
   CTBC Bank                       Fleet General Insurance                        x4377
   CTBC Bank                       Julia Yue                                      x2277
   CTBC Bank                       LaGuardia Performance Center LLC               x0816
   CTBC Bank                       LaGuardia Performance Center LLC               x0899
   CTBC Bank                       LaGuardia Performance Center LLC               x2777


                                                 1
Case 1:21-cv-05350-PKC-JAM               Document 450-2            Filed 07/05/24        Page 19 of 24 PageID
                                               #: 25121



                                                                                                Frozen Account No.
      Financial Institution              Account Owner                                          Last Four Digits
      CTBC Bank                          LaGuardia Performance Center LLC                       x9799
      CTBC Bank                          Manekineko Group LLC                                   x8697
      CTBC Bank                          Shangri La 9F Inc                                      x2757
      CTBC Bank                          Shangri La Green Inc                                   x4357
      CTBC Bank                          X&Y Development Group LLC                              x5097
      CTBC Bank                          Fleet General Insurance Group Inc.                     LN#41x*
      CTBC Bank                          Manekineko Group LLC                                   LN#41x*
      CTBC Bank                          Shangri-La Green Inc.                                  LN#41x*
      CTBC Bank                          Eastern Emerald Group LLC                              LN#41x*
      East West Bank                     Amazon River LLC                                       x6158
      East West Bank                     Eastern Emerald Group LLC                              x3379
      East West Bank                     Eastern Emerald Group LLC                              x6026
      East West Bank                     Eastern Emerald Group LLC                              x8618
      East West Bank                     EEGH II LP                                             x6968
      East West Bank                     EEGH II LP                                             x8568
      East West Bank                     EEGH II LP                                             x0689
      East West Bank                     EEGH LP                                                x5168
      East West Bank                     EEGH LP                                                x5366
      East West Bank                     EEGH LP                                                x6208
      East West Bank                     EEGH LP                                                x0598
      East West Bank                     EEGH LP ( R)                                           x6828
      East West Bank                     EEGH LP (Operating A/C)                                x6166
      East West Bank                     EMMCO LP                                               x3048
      East West Bank                     EMMCO LP                                               x1159
      East West Bank                     EMMCO NQMC LP                                          x0896
      East West Bank                     EMMCO Tower LP                                         x1316
      East West Bank                     EMMCO Tower LP                                         x1795
      East West Bank                     EW Escrow Inc                                          x3569
      East West Bank                     Fleet Equipment Inc                                    x8899
      East West Bank                     Fleet Financial Group Inc (I)                          x0375
      East West Bank                     Fleet Financial Group Inc (II)                         x1183


  *
   The account numbers beginning with ‘LN’ at CTBC include the account type (“LN”) and first two digits of the
  account number.

                                                         2
Case 1:21-cv-05350-PKC-JAM   Document 450-2         Filed 07/05/24     Page 20 of 24 PageID
                                   #: 25122



                                                                           Frozen Account No.
   Financial Institution     Account Owner                                 Last Four Digits
   East West Bank            Fleet Financial Group Inc (III)               x5085
   East West Bank            Fleet Financial Group Inc (Payroll A/C)       x5119
   East West Bank            Fleet Hospitality Management Inc              x0028
   East West Bank            Fleet Hospitality Management Inc (I)          x4517
   East West Bank            Fleet New York Metropolitan Regional          x3089
                             Center LLC
   East West Bank            Fleet Real Estate Group Inc                   x6398
   East West Bank            The Grand Eastern Mirage Group LLC            x3379
   East West Bank            The Grand Eastern Mirage Group LLC            x6026
   East West Bank            The Grand Eastern Mirage Group LLC            x8618
   East West Bank            Julia Yue                                     x5447
   East West Bank            LaGuardia Performance Center LLC              x2677
   East West Bank            LaGuardia Performance Center LLC              x2727
   East West Bank            LaGuardia Performance Center LLC              x4277
   East West Bank            Manekineko Group LLC                          x1225
   East West Bank            Samuel Development Group LLC                  x0235
   East West Bank            Shangri-La 9D Inc                             x5226
   East West Bank            Shangri-La 9D Inc                             x8758
   East West Bank            Shangri-La 9D Inc                             x9608
   East West Bank            Shangri-La 9F Inc                             x1977
   East West Bank            Shangri-La Green Inc                          x0268
   East West Bank            Shangri-La Green Inc                          x8808
   East West Bank            Shangri-La Green Inc                          x9798
   East West Bank            X & Y Development Group LLC                   x0367
   East West Bank            Yi Xia                                        x5906
   Flushing Bank             Eastern Emerald Group LLC                     X6096
   Flushing Bank             Fleet General Insurance Group                 X1790
   HSBC Bank USA, NA         Amazon River LLC                              x0301
   HSBC Bank USA, NA         Manekineko Group LLC                          x0913
   HSBC Bank USA, NA         Samuel Development Group LLC                  x0310
   HSBC Bank USA, NA         Shangri-La 9D Inc                             x0875
   HSBC Bank USA, NA         Shangri-La 9F Inc                             x0883
   HSBC Bank USA, NA         Shangri-La Green Inc                          x0743


                                           3
Case 1:21-cv-05350-PKC-JAM    Document 450-2         Filed 07/05/24   Page 21 of 24 PageID
                                    #: 25123



                                                                          Frozen Account No.
   Financial Institution      Account Owner                               Last Four Digits
   HSBC Bank USA, NA          The Grand Eastern Mirage Group LLC          x0708
   HSBC Bank USA, NA          The Grand Eastern Mirage Group LLC          x0686
   Interactive Brokers LLC    Eastern Emerald Group LLC                   x5119
   Interactive Brokers LLC    EEGH, LP                                    x4932
   Interactive Brokers LLC    LaGuardia Performance Center, LLC           x5399
   JP Morgan Chase Bank, NA   Amazon River LLC                            x9316
   JP Morgan Chase Bank, NA   Amazon River LLC                            x0985
   JP Morgan Chase Bank, NA   Fleet Equipment, Inc                        x3335
   JP Morgan Chase Bank, NA   Fleet Financial Group, Inc.                 x6665
   JP Morgan Chase Bank, NA   Fleet General Insurance Group               x5320
   JP Morgan Chase Bank, NA   Julia Yue                                   x7632
   JP Morgan Chase Bank, NA   Julia Yue                                   x1825
   JP Morgan Chase Bank, NA   LaGuardia Performance Center LLC            x6902
   JP Morgan Chase Bank, NA   Shangri-La 9D Inc                           x8715
   JP Morgan Chase Bank, NA   Shangri-La 9D Inc                           x6068
   JP Morgan Chase Bank, NA   Shangri-La Green Inc                        x6733
   JP Morgan Chase Bank, NA   Shangri-La Green Inc                        x5612
   JP Morgan Chase Bank, NA   Shangri-La Tower Homeowner Ass’n Inc.       x3531
   JP Morgan Chase Bank, NA   Yi Xia                                      x8393
   JP Morgan Chase Bank, NA   Yi Xia                                      x9518
   Popular Bank               LaGuardia Performance Center LLC            x6909
   Popular Bank               LaGuardia Performance Center LLC            x6469
   Popular Bank               LaGuardia Performance Center LLC            x6486
   Popular Bank               LaGuardia Performance Center LLC            x5042
   Popular Bank               LaGuardia Performance Center LLC            x9291
   Signature Bank             Eastern Emerald Group LLC                   x5320
   Signature Bank             LaGuardia Performance Center LLC            x9927




                                            4
Case 1:21-cv-05350-PKC-JAM          Document 450-2       Filed 07/05/24     Page 22 of 24 PageID
                                          #: 25124



                                           Appendix B

          The following are the Financial Institutions and Frozen Accounts as to which Defendants

  waive their rights, if any:

                                                                                  Frozen Account No.
   Financial Institution           Account Owner                                  Last Four Digits
   East West Bank                  Perini Group Inc                               x6786
   East West Bank                  Perini Group Inc                               x8998
   East West Bank                  Perini Group Inc                               x9996
   East West Bank                  Racanelli Construction Group Inc               x2538
   East West Bank                  Racanelli Construction Group Inc               x2660
   East West Bank                  Racanelli Construction Group Inc               x5028
   East West Bank                  Racanelli Construction Group Inc               x5259
   East West Bank                  Racanelli Construction Group Inc               x5283
   East West Bank                  Racanelli Construction Group Inc               x6109
   Interactive Brokers LLC         Perini Construction Group Inc                  x5540
   JP Morgan Chase Bank, NA        Perini Group, Inc                              x3397
   Signature Bank                  Perini Group                                   x3796
   Signature Bank                  Perini Group                                   x4512




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Case 1:21-cv-05350-PKC-JAM          Document 450-2        Filed 07/05/24      Page 23 of 24 PageID
                                          #: 25125



                                            Appendix C

         The following constitutes the Collateral as to which Defendant Richard Xia shall grant to

  Commission a senior security interest:

  1.     The Eastern Mirage Project, located at 42-31 Union Street, including all buildings, real
         estate, equipment, and other property.

  2.     The Eastern Emerald Project, located at 112-51 Northern Boulevard, including all
         buildings, real estate, equipment, and other property.

  3.     The property located at 144 Kings Point Drive, Kings Point, Town of West Hempstead,
         New York 11024, including all buildings, real estate, equipment, and other property.




                                                  1
Case 1:21-cv-05350-PKC-JAM           Document 450-2        Filed 07/05/24      Page 24 of 24 PageID
                                           #: 25126



                                            Appendix D

         The following entity has a security interest in the Eastern Mirage Project as of the date of

  the Consent:

  Emerald Creek Capital LLC




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